     Case 4:25-cv-04075-HSG       Document 37   Filed 05/28/25   Page 1 of 18



 1   WILLIAM J. FRIMEL (Bar No. 160287)
     Seubert Frimel & Warner LLP
 2   1075 Curtis Street
 3   Menlo Park, CA 94025
     Tel: 650.322.3048
 4   Fax: 650.833.2976
     bill@sffwlaw.com
 5
     Attorneys for Defendants
 6   CAPITAL ASSET EXCHANGE & TRADING LLC,
 7   CAE ONLINE LLC, RYAN JACOB, and JEFFREY
     ROBBINS
 8

 9                              UNITED STATES DISTRICT COURT

10

11                        NORTHERN DISTRICT OF CALIFORNIA

12
     SEMICONDUCTOR GLOBAL                       Case No. 4:25-cv-04075-HSG
13   SOLUTIONS,
                                                NOTICE OF MOTION AND MOTION BY
14                 Plaintiff,                   DEFENDANTS CAPITAL ASSET
                                                EXCHANGE & TRADING LLC, CAE
15         v.                                   ONLINE LLC, RYAN JACOB, AND
                                                JEFFREY ROBBINS TO STAY ACTION
16   CAPITAL ASSET EXCHANGE &                   PENDING DETERMINATION BY OFFICE
     TRADING LLC; CAE ONLINE LLC;               OF FOREIGN ASSETS CONTROL;
17   RYAN FRANZKE JACOB, individually;          MEMORANDUM OF POINTS AND
     and JEFFREY SCOTT ROBBINS,                 AUTHORITIES IN SUPPORT THEREOF
18   individually,
                                                Hearing Date: July 31, 2025
19                 Defendants.                  Hearing Time: 2:00 p.m.
                                                Courtroom: 2
20                                              Judge: Hon. Haywood S. Gilliam, Jr.

21

22

23

24

25

26
27

28

           DEFS.’ MOT. TO STAY PENDING DETERMINATION BY OFFICE OF FOREIGN ASSETS CONTROL
     Case 4:25-cv-04075-HSG            Document 37      Filed 05/28/25      Page 2 of 18



 1                                         NOTICE OF MOTION

 2          PLEASE TAKE NOTICE that, on July 31, 2025, at 2:00 pm, or as soon thereafter as

 3   counsel may be heard, in the United States District Court for the Northern District of California,

 4   located at Courtroom 2, 1301 Clay Street, Oakland, CA 94612, Defendants Capital Asset

 5   Exchange & Trading LLC, CAE Online LLC (“CAEO”), Ryan Jacob and Jeffrey Robbins

 6   (collectively, “Defendants”) will and hereby do move to stay this action pending the

 7   determination by the United States Treasury Department’s Office of Foreign Assets Control

 8   (“OFAC”) regarding CAET’s application for a license to refund the payment at issue in this

 9   action by Semiconductor Global Solutions (“SGS”). This motion shall be based on this Notice,

10   the attached Memorandum of Points and Authorities, the Declarations of Ryan Jacob and William

11   J. Frimel, and such other and further material as may be submitted to the Court on or before the

12   date of the hearing in this matter.

13                                          MOTION TO STAY

14          CAET moves to stay this action pending the determination by OFAC regarding CAET’s

15   application for a license to refund the payment at issue in this action by SGS.

16                                         ISSUE TO BE DECIDED

17          The issue to be decided is whether this action should be stayed pending the determination

18   by OFAC regarding CAET’s application for a license to refund the payment at issue in this action

19   by SGS.

20    Dated: May 28, 2025                               /s/ William J. Frimel
21                                                      WILLIAM J. FRIMEL
                                                        Attorneys for Defendants
22                                                      CAPITAL ASSET EXCHANGE & TRADING
                                                        LLC, CAE ONLINE LLC, RYAN JACOB, and
23
                                                        JEFFREY ROBBINS
24

25

26
27

28

             DEFS.’ MOT. TO STAY PENDING DETERMINATION BY OFFICE OF FOREIGN ASSETS CONTROL
     Case 4:25-cv-04075-HSG             Document 37        Filed 05/28/25     Page 3 of 18



 1                                         TABLE OF CONTENTS
                                                                                               Page(s)
 2

 3   INTRODUCTION                                                                                1

 4   STATEMENT OF FACTS                                                                          2

 5         A.      The Relevant U.S. Export Regulations                                          2
 6
                1. The BIS maintains a list of entities that cannot receive certain types of
 7                 equipment without a license                                                   2

 8              2. The EARs prohibit the export of any item subject to the EARs to
                   semiconductor manufacturers in China                                          3
 9
                3. The EARs prohibit payments to “military-intelligence end users”               4
10

11              4. The EARs require CAET to inquire into the end use of restricted items         4

12              5. OFAC regulations prohibit the transfer of funds to entities considered
                   threats to U.S. national security                                             5
13
           B.      The Parties’ Transaction                                                      6
14

15   ARGUMENT                                                                                    7

16   I.         THIS ACTION SHOULD BE STAYED BASED ON THE PRIMARY
                JURISDICTION DOCTRINE                                                            7
17

18         A. OFAC’s Determination Will Resolve an Issue Important to This Matter                7

19         B. The Issue Presented by the License Application Is Within OFAC’s
              Jurisdiction                                                                       8
20
           C. The Relevant Regulations Require Agency Expertise and Uniformity                   9
21

22   II.        THIS ACTION SHOULD BE STAYED BASED ON THE COURT’S
                DISCRETION TO CONTROL ITS DOCKET                                                 10
23
           A. If the Court Requires CAET to Refund SGS’s Payment, CAET May Be
24            Forced to Violate U.S. Export Regulations                                          10
25         B. Entering a Stay Will Not Meaningfully Prejudice SGS                                11
26
           C. A Stay Would Be in the Public Interest                                             12
27
     CONCLUSION                                                                                  12
28
                                                         -ii-
                DEFS.’ MOT. TO STAY PENDING DETERMINATION BY OFFICE OF FOREIGN ASSETS CONTROL
     Case 4:25-cv-04075-HSG         Document 37        Filed 05/28/25   Page 4 of 18



 1

 2                                    TABLE OF AUTHORITIES
                                                                                          Page(s)
 3

 4   In re 650 Fifth Ave., No. 08 Civ. 10934, 2013 WL 2451067 (S.D.N.Y. Jun. 6, 2013)       9

 5   ASCII Corp. v. STD Ent’mt. USA, Inc., 844 F. Supp. 1378 (N.D. Cal. 1994)               10

 6   Akeena Solar Inc. v. Zep Solar Inc., No. C 09-05040, 2010 WL 1526388 (N.D. Cal.
     Apr. 14, 2010)                                                                         12
 7

 8   Barrera v. Comcast Holdings Corp., No. 14-cv-00343, 2014 WL 1942829 (N.D. Cal.
     May 12, 2014)                                                                         1, 9
 9
     Cal. Apt. Ass’n. v. San Diego Cty. Apt. Ass’n., Inc., No. 11cv300, 2011 WL 1002667
10   (S.D. Cal. Mar. 18, 2011)                                                              11
11
     Chamber of Commerce v. Becerra, 438 F. Supp. 3d 1078 (E.D. Cal. 2020)                  11
12
     Changji Esquel Textile Co. v. Raimondo, 573 F. Supp. 3d 104 (D.D.C. 2021)              3
13
     Chevron U.S.A. Inc. v. Natural Resources Def. Council, 467 U.S. 837 (1984)             9
14
     Clark v. Time Warner Cable, 523 F.3d 1110 (9th Cir. 2008)                              7
15

16   Clinton v. Jones, 520 U.S. 681 (1997)                                                  10

17   Cortez v. Trans Union, LLC, 617 F.3d 688 (3d Cir. 2010)                                6
18   Cuviello v. City of Vallejo, 944 F.3d 816 (9th Cir. 2019)                              10
19
     Eberle v. Smith, No. 07-CV-0120, 2008 WL 238450 (S.D. Cal. Jan. 29, 2008)              12
20
     Fulmen Co. v. Offc. of Foreign Assets Control, 547 F. Supp. 3d 13 (D.D.C. 2020)      2, 8-9
21
     Gentry v. Cellco Pshp., No. CV 05-7888, 2006 WL 6927883 (C.D. Cal. Mar. 22,
22   2006)                                                                                 7, 8
23
     GPAC, Inc. v. D.W.W. Enters., Inc., 144 F.R.D. 60 (D. N.J. 1992)                       10
24
     Hart v. Charter Comms., Inc., No. SA CV 17-0556, 2019 WL 7940684 (C.D. Cal.
25   Aug. 1, 2019)                                                                          11
26   Hassan v. United States, No. CIV. S-12-1933, 2012 WL 6088314 (E.D. Cal. Dec. 6,
27   2012)                                                                                  6

28   Islamic Am. Relief Agency v. Gonzales, 477 F.3d 728 (D.C. Cir. 2007)                   9
                                                    -iii-
            DEFS.’ MOT. TO STAY PENDING DETERMINATION BY OFFICE OF FOREIGN ASSETS CONTROL
     Case 4:25-cv-04075-HSG         Document 37       Filed 05/28/25    Page 5 of 18



 1
     Kang v. Credit Bureau Connection, Inc., No. 1:18-CV-01359, 2020 WL 2539292
 2   (E.D. Cal. May 19, 2020)                                                               6
 3
     Klaustech, Inc. v. AdMob, Inc., No. C 10-05899, 2011 WL 13152861 (N.D. Cal. Feb.
 4   2, 2011)                                                                               12

 5   Ponzio v. 3M Co., No. 2:16-CV-3521, 2016 WL 6407376 (C.D. Cal. Oct. 28, 2016)          10
 6   NextG Networks of Cal., Inc. v. City of San Francisco, No. C 05-0658, 2005 WL
 7   8177903 (N.D. Cal. Jun. 7, 2005)                                                       9

 8   Reese v. Odwalla, Inc., 30 F. Supp. 3d 935 (N.D. Cal. 2014)                            9

 9   Reiter v. Cooper, 507 U.S. 258 (1993)                                                  7
10
     Rent-A-Center, Inc. v. Canyon Tel. & Appliance Rental, Inc., 944 F.2d 597 (9th Cir.
11   1991)                                                                                  11

12   Saubers v. Kashi Co., 39 F. Supp. 3d 1108 (S.D. Cal. 2014)                            2, 8

13   Syntek Semiconductor Co. v. Microchip Tech., 307 F.3d 775 (9th Cir. 2002)              7
14
     Terry v. Register Tapes Unlimited, Inc., No. 2:16-cv-0806, 2020 WL 3819417 (E.D.
15   Cal. Jul. 8, 2020)                                                                     11

16   United States v. Shih, 73 F.4th 1077 (9th Cir. 2023)                                   3
17   Williams v. Nationstar Mortgage, LLC, No. 6:16-cv-01357, 2016 WL 6905382 (D.
     Or. Nov. 23, 2016)                                                                     11
18

19   Zaborowski v. MHN Govt. Servs., Inc., No. C 1205109, 2013 WL 1832638 (N.D. Cal.
     May 1, 2013)                                                                          2, 12
20
21

22

23

24

25

26
27

28
                                                    -iv-
            DEFS.’ MOT. TO STAY PENDING DETERMINATION BY OFFICE OF FOREIGN ASSETS CONTROL
     Case 4:25-cv-04075-HSG          Document 37        Filed 05/28/25     Page 6 of 18



 1                                          INTRODUCTION

 2          Plaintiff Semiconductor Global Solutions (“SGS”), a Chinese corporation in Shanghai,

 3   China, purchased semiconductor manufacturing equipment (“SME”) from Defendant Capital

 4   Asset Exchange & Trading LLC (“CAET”) with numerous potential military applications,

 5   including the manufacture of semiconductors used in radar, missile guidance, supercomputing

 6   and radiation-hardened electronics. As U.S. Bureau of Industry and Security (“BIS”) regulations

 7   restrict the export of the equipment SGS bought (the “Equipment”), and require CAET to “[t]ake

 8   into account any abnormal circumstances in a transaction that indicate that the export may be

 9   destined for an inappropriate end-use, end-user, or destination,” 15 C.F.R. § 732, Supp. 3, §

10   (a)(1), CAET did extensive due diligence regarding SGS.

11          During that investigation, CAET learned SGS is partially owned by another Chinese

12   entity, Yangzhou SMIC Xicheng Xingsheng Venture Capital Partnership, which in turn is

13   partially owned by Chinese semiconductor manufacturer Semiconductor Manufacturing

14   International Corporation (“SMIC”). SMIC appears on both the “Non-SDN Chinese Military-

15   Industrial Complex Companies List” maintained by the Treasury Department’s Office of Foreign

16   Assets Control (“OFAC”), and the BIS’s “Entity List.” Those lists contain entities OFAC and

17   BIS have determined to pose risks to U.S. national security, and SMIC appears on them due to its

18   relationship with the Chinese military. Thus, CAET determined that it could not lawfully deliver

19   the Equipment to SGS. Moreover, as BIS regulations also prohibit the “support” of any

20   “military-intelligence end use” or “end user,” including by “[p]erforming any contract, service or
21   employment,” 15 C.F.R. § 744.6(b)(5), CAET determined that it could not refund SGS’s payment

22   either, at least without a license from the appropriate regulatory agency. Accordingly, on May

23   16, 2025, CAET submitted a request to OFAC for a license to refund SGS’s payment.

24          CAET respectfully requests that the Court stay this action, based on the doctrine of

25   primary jurisdiction, pending OFAC’s response to CAET’s request for a license to refund SGS’s

26   payment. See Barrera v. Comcast Holdings Corp., No. 14-cv-00343, 2014 WL 1942829, *2
27   (N.D. Cal. May 12, 2014) (entering stay on the ground that “the doctrine of primary jurisdiction

28   applies because the very issue on which Plaintiff’s claims are predicated — liability under the

             DEFS.’ MOT. TO STAY PENDING DETERMINATION BY OFFICE OF FOREIGN ASSETS CONTROL
     Case 4:25-cv-04075-HSG           Document 37        Filed 05/28/25       Page 7 of 18



 1   [Telephone Consumer Protection Act] when a wireless telephone user has changed phone

 2   numbers — is currently before the” Federal Communications Commission). OFAC has special

 3   competence in the area of sanctions enforcement, and thus deference to its conclusions regarding

 4   the legality of CAET’s transaction with SGS is warranted. See Fulmen Co. v. Offc. of Foreign

 5   Assets Control, 547 F. Supp. 3d 13, 23 (D.D.C. 2020) (“OFAC, in particular, is entitled to even

 6   greater deference” than a typical regulatory agency — “indeed, ‘extreme[] deferen[ce]’ —

 7   because its decisions implicate national security and foreign policy”). Further, because CAET’s

 8   decision not to proceed with the transaction or refund was based on OFAC and BIS regulations,

 9   OFAC’s determination may substantially affect the disposition of this matter. See, e.g., Saubers

10   v. Kashi Co., 39 F. Supp. 3d 1108, 1112 (S.D. Cal. 2014) (as “Plaintiffs’ claims rely heavily, if

11   not entirely, on the premise that the FDA has concluded that ‘evaporated cane juice’ is not the

12   common or usual name for any sweetener,” and “the FDA’s articulation of its considered view on

13   this matter will undoubtedly affect issues being litigated in this action,” “application of the

14   primary jurisdiction doctrine is favored” and a stay was warranted).

15          A stay is also appropriate pursuant to the Court’s inherent power to manage its docket, as

16   a stay will promote efficiency by avoiding the risk that the Court and OFAC will make

17   inconsistent determinations regarding the applicable regulations, and, given the early stage of this

18   case (no discovery has been done and no trial date has been set), will not prejudice SGS. See,

19   e.g., Zaborowski v. MHN Govt. Servs., Inc., No. C 1205109, 2013 WL 1832638, *3 (N.D. Cal.

20   May 1, 2013) (stay pending appeal pursuant to court’s inherent power would serve “the public
21   interest” because “judicial resources will be wasted if this case proceeds all the way to trial, only

22   for the Court to later discover that the case should have proceeded through arbitration”).

23                                       STATEMENT OF FACTS

24          A. The Relevant U.S. Export Regulations

25                  1. The BIS maintains a list of entities that cannot receive certain types of
                       equipment without a license
26
27          “The Export Administration Regulations (‘EARs’), administered by the Department of

28   Commerce’s Bureau of Industry and Security (‘BIS’), impose controls on certain exports to
                                                       -2-
             DEFS.’ MOT. TO STAY PENDING DETERMINATION BY OFFICE OF FOREIGN ASSETS CONTROL
     Case 4:25-cv-04075-HSG            Document 37        Filed 05/28/25     Page 8 of 18



 1   ‘serve the national security, foreign policy, nonproliferation of weapons of mass destruction, and

 2   other interests of the United States.’” United States v. Shih, 73 F.4th 1077, 1089 (9th Cir. 2023)

 3   (quoting 15 C.F.R. §§ 730.1, 730.6). “Most items subject to the EARs are identified on a BIS

 4   Commerce Control List and given an Export Control Classification Number (‘ECCN’).” Id. at

 5   1090 (citing 15 C.F.R. § 774, Supp. No. 1).

 6          The equipment SGS purchased from CAET consisted of a Hitachi S-9380 Type II

 7   Scanning Electron Microscope, and a Hitachi S-9380 Critical Dimension Scanning Electron

 8   Microscope. (Decl. of Ryan Jacob, May 28, 2025 (“Jacob Decl.”), ¶ 3 & Exhs. A, B.) In

 9   semiconductor manufacturing, scanning electron microscopes (“SEMs”) are used to measure

10   nanoscale features on semiconductor wafers. (Id. ¶ 8.) Per the EARs, SEMs fall under Export

11   Control Classification Number (“ECCN”) 3B992 (“Equipment not controlled by 3B002, 3B993,

12   or 3B994, for the inspection or testing of electronic ‘components’ and materials . . . and ‘specially

13   designed’ ‘parts,’ ‘components’ and ‘accessories’ therefor”). 15 C.F.R. § 774, Supp. No. 1, Cat.

14   3. The Equipment has numerous potential military applications, including the manufacture of

15   semiconductors used in radar, missile guidance, supercomputing and radiation-hardened

16   electronics. (Jacob Decl. ¶ 9.)

17          The BIS “maintains [an] ‘Entity List,’ which includes foreign persons ‘reasonably

18   believed to be involved, or to pose a significant risk of being or becoming involved, in activities

19   contrary to the national security or foreign policy interests of the United States.’” Changji Esquel

20   Textile Co. v. Raimondo, 573 F. Supp. 3d 104, 108 (D.D.C. 2021) (internal quotation marks
21   omitted). “Listed entities are ‘prohibited from receiving some or all items subject to the EARs

22   unless the exporter secures a license.’” Id. at 109. Except for “items ‘necessary to detect,

23   identify and treat infectious disease,’” “all other license applications are presumptively denied for

24   most items.” Id. (citing 85 Fed. Reg. at 44,160).

25                  2. The EARs prohibit the export of any item subject to the EARs to
26                     semiconductor manufacturers in China
            The EARs prohibit, without a license, the export of an item subject to the EARs such as
27
     the Equipment, if the exporter knows the item is “destined for . . . [s]emiconductor manufacturing
28
                                                         -3-
             DEFS.’ MOT. TO STAY PENDING DETERMINATION BY OFFICE OF FOREIGN ASSETS CONTROL
     Case 4:25-cv-04075-HSG           Document 37         Filed 05/28/25      Page 9 of 18



 1   equipment (SME)” in a country in “Country Group D:5,” which includes China, “for the

 2   ‘development’ or ‘production’ of ‘equipment,’ ‘components,’ ‘assemblies,’ or ‘accessories’

 3   specified in ECCN[] . . . 3B992,” i.e., the ECCN applicable to the Equipment. 15 C.F.R. §

 4   744.23(a)(4)(i). The expansive list of ECCNs in Section 744.23 generally includes “front end of

 5   line,” or “FEOL,” SME, meaning SME related to the first stage of semiconductor manufacturing,

 6   where transistors and other basic components are created on a silicon wafer. Publicly available

 7   information makes clear that, in addition to refurbishing and selling FEOL equipment such as

 8   scanning electron microscopes, SGS “also develops and sells semiconductor equipment.” (Jacob

 9   Decl. ¶¶ 11-12 & Exh. C.)

10                  3. The EARs prohibit payments to “military-intelligence end users”

11          Further, under the EARs, “no ‘U.S. person’ may, without a license from BIS, ‘support’ . . .

12   . [a] ‘military-intelligence end use’ or a ‘military-intelligence end user,’ as defined in § 744.22(f),

13   in . . . the People’s Republic of China . . . .” 15 C.F.R. § 744.6(b)(5). A “military-intelligence

14   end use” includes “the ‘development,’ ‘production,’ operation, installation [of] . . ., or

15   incorporation into, items described on the U.S. Munitions List (USML),” id. § 744.22(f)(1),

16   which in turn includes hardware and software for the manufacture, guidance and detection of

17   missiles and bombs, 22 C.F.R. § 121.1, Cat. IV(a). “Support” is defined to mean, inter alia,

18   “[p]erforming any contract, service, or employment you know may assist or benefit any of the

19   end uses or end users described in paragraphs (b)(1) through (5) of this section,” which include

20   “military-intelligence end users,” “including, but not limited to: Ordering, buying, removing,
21   concealing, storing, using, selling, loaning, disposing, servicing, financing, transporting, freight

22   forwarding, or conducting negotiations in furtherance of.” 15 C.F.R. § 744.6(b)(6)(iv). Thus, a

23   U.S. exporter is not only prohibited from selling restricted equipment to an entity on the Entity

24   List without a license, but also may not “perform[] any contract” with, or otherwise provide

25   “support” to, a “military-intelligence end user,” and “supporting” includes activities such as

26   performing under a contract, “servicing,” “financing” and “conducting negotiations.”
27                  4. The EARs require CAET to inquire into the end use of restricted items

28          Under the EARs, “[y]ou may not, without a license, knowingly export, reexport, or
                                                        -4-
             DEFS.’ MOT. TO STAY PENDING DETERMINATION BY OFFICE OF FOREIGN ASSETS CONTROL
     Case 4:25-cv-04075-HSG           Document 37        Filed 05/28/25      Page 10 of 18



 1   transfer (in-country) any item subject to the EAR to an end user or end use that is prohibited by

 2   part 744 of the EAR.” 15 C.F.R. § 736.2(b)(5). To comply, a seller of restricted equipment must,

 3   before completing a sale, “[d]ecide whether there are ‘red flags’” associated with the transaction,

 4   which means “[t]ake into account any abnormal circumstances in a transaction that indicate that

 5   the export may be destined for an inappropriate end-use, end-user, or destination.” 15 C.F.R. §

 6   732, Supp. 3, § (a)(1). “If there are ‘red flags,’” the seller has “a duty to check out the suspicious

 7   circumstances and inquire about the end-use, end-user, or ultimate country of destination,”

 8   including by “obtain[ing] documentary evidence concerning the transaction.” Id. § (a)(2). “If the

 9   ‘red flags’ cannot be explained or justified and you proceed, you run the risk of having had

10   ‘knowledge’ that would make your action a violation of the EAR.” Id. § (a)(5).

11          Further, BIS guidance makes clear that an “end user” refers to “[t]he ultimate end-user.”

12   In other words, under the EARs, if the seller of a restricted item is aware that the buyer is an

13   intermediary likely to resell the item to a prohibited end user (e.g., a military intelligence end user

14   in China), the seller cannot make the sale without a license. See, e.g., 15 C.F.R. § 732.1(b)(3)

15   (“The ultimate end-user of your item cannot be a bad end-user.”); id. § 732.1(b)(4) (“The ultimate

16   end-use of your item cannot be a bad end-use.”); see also 15 C.F.R. § 732, Supp. 3 (citing, as an

17   example of a “red flag,” a situation in which “[a]n exporter, reexporter, or transferor receives an

18   order for which the ultimate owner or user of the items is uncertain, such as a request to ship

19   equipment for developing or producing integrated circuits to a distributor without a

20   manufacturing operation”).
21                  5. OFAC regulations prohibit the transfer of funds to entities considered
                       threats to U.S. national security
22

23          “OFAC is an executive agency of the United States Department of the Treasury that

24   administers and enforces economic trade sanctions based on United States foreign policy and

25   national security goals against threats to national security, foreign policy, and the national

26   economy. . . . OFAC’s sanctions are directed towards terrorists, international narcotics traffickers,

27   and persons involved in the proliferation of weapons of mass destruction, amongst others. . . .

28   OFAC designates some of these individuals as Specially Designated Nationals and Blocked
                                                        -5-
             DEFS.’ MOT. TO STAY PENDING DETERMINATION BY OFFICE OF FOREIGN ASSETS CONTROL
     Case 4:25-cv-04075-HSG          Document 37       Filed 05/28/25      Page 11 of 18



 1   Persons (‘SDNs’), and OFAC periodically publishes and updates its list of SDNs on its ‘SDN

 2   List,’” among other lists of sanctioned entities maintained by OFAC, “which is publicly available

 3   online.” Kang v. Credit Bureau Connection, Inc., No. 1:18-CV-01359, 2020 WL 2539292, *1

 4   (E.D. Cal. May 19, 2020) (citing 31 C.F.R. § Ch. V, App. A).

 5          B. The Parties’ Transaction

 6          As of, respectively, November 28, 2022 and December 7, 2022, the parties executed an

 7   “Invoice Order” and a “Purchase Order” providing that SGS would purchase the Equipment.

 8   (Jacob Decl. ¶ 4 & Exhs. A, B.) SGS agreed to pay, and paid, CAET a total of $2,000,000 in

 9   exchange for the Equipment. (Id. ¶ 7.)

10          Because the items SGS purchased, as discussed, are subject to the EARs, CAET

11   performed extensive due diligence regarding SGS, including an investigation of SGS’s ownership

12   structure. (Id. ¶ 10.) During its investigation, CAET discovered that SGS is partially owned by a

13   Chinese entity called Yangzhou SMIC Xicheng Xingsheng Venture Capital Partnership, which in

14   turn is partially owned by SMIC. (Id. ¶¶ 13-15 & Exh. D.) SMIC is a partially state-owned

15   Chinese semiconductor foundry, i.e., a producer of integrated circuits. (Id. ¶ 14.) SMIC is on the

16   OFAC Non-SDN Chinese Military-Industrial Complex Companies List due to its suspected

17   relationship with the Chinese military, and is also on the BIS Entity List. (Id. ¶ 17 & Exh. F; see

18   also 15 C.F.R. § 744, Supp. No. 4.) Further, SMIC is a “front end of line” equipment

19   manufacturer, and thus SME cannot be exported to SMIC without a license from the BIS. See 15

20   C.F.R. § 744.23(a)(4)(i).
21          Based on its investigation, CAET determined that, due to the risk that SGS might transfer

22   the Equipment to SMIC or an entity affiliated with it, CAET could not deliver the Equipment to

23   SGS. (Jacob Decl. ¶ 18.) CAET also determined that, in light of, among other regulations, 15

24   C.F.R. § 744.6(b)(5)’s above-mentioned prohibition on “supporting” “military intelligence end

25   users” (which includes a prohibition on “[p]erforming any contract, service or employment you

26   know may assist or benefit any” military intelligence “end uses or end users”), refunding SGS’s
27   payment would also be prohibited, at least without a license from the appropriate export

28   regulator. (Id. ¶ 19.) After CAET told SGS as much, SGS brought this action.
                                                      -6-
             DEFS.’ MOT. TO STAY PENDING DETERMINATION BY OFFICE OF FOREIGN ASSETS CONTROL
     Case 4:25-cv-04075-HSG          Document 37        Filed 05/28/25      Page 12 of 18



 1          On May 16, 2025, CAET applied to OFAC for a license to refund SGS’s payment. (Id. ¶

 2   20.) OFAC has not yet taken any action regarding CAET’s application. (Id.)

 3                                              ARGUMENT

 4   I.     THIS ACTION SHOULD BE STAYED BASED ON THE PRIMARY
            JURISDICTION DOCTRINE
 5

 6          CAET requests that the Court stay this action until OFAC has made a determination

 7   regarding CAET’s application for a license to refund SGS’s payment. Such a stay is proper under

 8   the primary jurisdiction doctrine, which “is invoked to stay matters properly cognizable before a

 9   court while the resolution of a relevant or determinative issue within the special competence of an

10   administrative agency is decided.” Gentry v. Cellco Pshp., No. CV 05-7888, 2006 WL 6927883,

11   *2 (C.D. Cal. Mar. 22, 2006) (citing Reiter v. Cooper, 507 U.S. 258, 268 (1993)). In determining

12   “whether to stay an action under the doctrine,” “courts in this Circuit consider the following

13   factors: (1) the need to resolve the issue; (2) whether the issue has been placed by Congress

14   within the jurisdiction of an administrative body having regulatory authority pursuant to a statute

15   that subjects an industry or activity to comprehensive regulation; and (3) whether that regulation

16   requires expertise or uniformity in administration.” Id. at *3 (citing Syntek Semiconductor Co. v.

17   Microchip Tech., 307 F.3d 775, 781 (9th Cir. 2002)). These factors support entering a stay.

18          A. OFAC’s Determination Will Resolve an Issue Important to This Matter

19          If OFAC denies CAET’s request for a license to refund SGS’s payment, or issues an

20   advisory opinion saying CAET cannot do so, that will substantially resolve the issue of whether

21   export regulations permit CAET to issue the refund. Thus, OFAC’s determination is plainly

22   important to the resolution of this case. See Clark v. Time Warner Cable, 523 F.3d 1110, 1115-

23   16 (9th Cir. 2008) (as “Congress has specifically delegated responsibility to the FCC to define

24   ‘slamming’ violations, . . . and to prescribe the procedures for imposing the appropriate

25   penalties,” and “[t]he question raised by [plaintiff’s] complaint — whether a VoIP provider

26   qualifies as a ‘telecommunications carrier’ or is otherwise subject to § 258(a)’s requirements —

27   fits squarely within that delegation,” “the primary jurisdiction doctrine provided the district court

28   with the authority to refer [plaintiff’s] claim to the FCC”); Saubers v. Kashi Co., 39 F. Supp. 3d
                                                       -7-
             DEFS.’ MOT. TO STAY PENDING DETERMINATION BY OFFICE OF FOREIGN ASSETS CONTROL
     Case 4:25-cv-04075-HSG           Document 37        Filed 05/28/25       Page 13 of 18



 1   1108, 1112 (S.D. Cal. 2014) (as “Plaintiffs’ claims rely heavily, if not entirely, on the premise

 2   that the FDA has concluded that ‘evaporated cane juice’ is not the common or usual name for any

 3   sweetener,” and “the FDA’s articulation of its considered view on this matter will undoubtedly

 4   affect issues being litigated in this action,” “application of the primary jurisdiction doctrine is

 5   favored”); Gentry, 2006 WL 6927883, *3 (“need to resolve the issue” factor weighed in favor of

 6   stay, as “[t]he resolution of whether ETFs are ‘rates charged’” under Federal Communications

 7   Act, which was within Federal Communications Commission’s jurisdiction, “is critical to this

 8   diversity action” because, “if ETFs in this case are interpreted to be ‘rates charged’ under the

 9   FCA, then federal law preempts Plaintiffs’ state law claims”).

10          B. The Issue Presented by the License Application Is Within OFAC’s Jurisdiction

11          In 1994, the President issued an Executive Order pursuant to his authority under the

12   International Emergency Economic Powers Act that “blocked all property and interests in

13   property of . . . any foreign person” who has “engaged, or attempted to engage, in activities or

14   transactions that have materially contributed to, or pose a risk of materially contributing to, the

15   proliferation of weapons of mass destruction or their means of delivery (including missiles

16   capable of delivering such weapons),” and those held by “any person determined by the Secretary

17   of the Treasury . . . to be owned or controlled by, or acting or purporting to act for or on behalf of,

18   directly or indirectly, any person whose property and interests in property are blocked pursuant to

19   this order.” 70 Fed. Reg. at 38567. “The Secretary” of the Treasury “in turn delegated that

20   authority to OFAC.” Fulmen Co. v. Offc. of Foreign Assets Control, 547 F. Supp. 3d 13, 18
21   (D.D.C. 2020) (citing 31 C.F.R. §§ 539.802, 544.802). In light of OFAC’s authority to restrict

22   the transfer of property contributing to the development of weapons of mass destruction, and the

23   ability of the Equipment to be used in the production of missile guidance systems and other

24   military applications (Jacob Decl. ¶ 9), OFAC plainly has jurisdiction to regulate CAET’s

25   potential return of the funds it received from SGS.

26          C. The Relevant Regulations Require Agency Expertise and Uniformity
27          Numerous courts have recognized OFAC’s unique expertise in preventing the transfer of

28   funds likely to be used for purposes contrary to U.S. national security interests, and the
                                                        -8-
             DEFS.’ MOT. TO STAY PENDING DETERMINATION BY OFFICE OF FOREIGN ASSETS CONTROL
     Case 4:25-cv-04075-HSG          Document 37        Filed 05/28/25      Page 14 of 18



 1   complexity of the regulations OFAC enforces. See Fulmen Co., 547 F. Supp. 3d at 23 (“OFAC,

 2   in particular, is entitled to even greater deference” than a typical regulatory agency — “indeed,

 3   ‘extreme[] deferen[ce]’ — because its decisions implicate national security and foreign policy”)

 4   (quoting Islamic Am. Relief Agency v. Gonzales, 477 F.3d 728, 734 (D.C. Cir. 2007)); In re 650

 5   Fifth Ave., No. 08 Civ. 10934, 2013 WL 2451067, *6 (S.D.N.Y. Jun. 6, 2013) (“Given OFAC’s

 6   unique expertise in matters of terrorist finance and the sensitive nature of the investigations upon

 7   which OFAC makes its determinations, it is entitled to deference even greater than that afforded

 8   an administrative agency statutory interpretation under Chevron,” i.e., Chevron U.S.A. Inc. v.

 9   Natural Resources Def. Council, 467 U.S. 837 (1984)).

10          Thus, all of the primary jurisdiction factors support staying this matter pending a response

11   from OFAC to CAET’s license application. See Reese v. Odwalla, Inc., 30 F. Supp. 3d 935, 941

12   (N.D. Cal. 2014) (as “the dispute to be resolved is” whether “use of” a particular “ingredient

13   name is misleading and prohibited under the” Food, Drug and Cosmetic Act, and “[t]he issue of

14   proper declaration of ingredients on food labels is one as to which Congress vested the FDA with

15   comprehensive regulatory authority,” staying case under primary jurisdiction doctrine); Barrera

16   v. Comcast Holdings Corp., No. 14-cv-00343, 2014 WL 1942829, *2 (N.D. Cal. May 12, 2014)

17   (entering stay on the ground that “the doctrine of primary jurisdiction applies because the very

18   issue on which Plaintiff’s claims are predicated — liability under the [Telephone Consumer

19   Protection Act] when a wireless telephone user has changed phone numbers — is currently before

20   the” Federal Communications Commission); NextG Networks of Cal., Inc. v. City of San
21   Francisco, No. C 05-0658, 2005 WL 8177903, *5 (N.D. Cal. Jun. 7, 2005) (because California

22   Public Utilities Commission (“PUC”) “has primary jurisdiction to consider whether radio

23   frequency transport service is within the scope of” plaintiff’s “certificate of public convenience

24   and necessity” issued by that agency, staying case pending PUC’s determination of that issue).

25   Further, a stay would promote judicial efficiency because, if the Court declines to issue a stay and

26   requires CAET to refund SGS’s payment, guidance from OFAC prohibiting CAET’s payment to
27   SGS could require the Court’s order to be reopened.

28
                                                       -9-
             DEFS.’ MOT. TO STAY PENDING DETERMINATION BY OFFICE OF FOREIGN ASSETS CONTROL
     Case 4:25-cv-04075-HSG           Document 37        Filed 05/28/25       Page 15 of 18



 1   II.    THIS ACTION SHOULD BE STAYED BASED ON THE COURT’S DISCRETION
            TO CONTROL ITS DOCKET
 2

 3          Even assuming the primary jurisdiction doctrine does not apply, the Court has “broad

 4   discretion to stay proceedings as an incident to its power to control its own docket.” Clinton v.

 5   Jones, 520 U.S. 681, 707-08 (1997). “In determining whether to grant a stay, courts generally

 6   consider whether doing so would ‘cause undue prejudice or present a clear tactical disadvantage

 7   to the non-moving party.’ . . . . Other factors considered are ‘the stage in the litigation, [whether]

 8   discovery [is] or [will] be almost completed, [and whether] the matter [has] been marked for

 9   trial.’” ASCII Corp. v. STD Ent’mt. USA, Inc., 844 F. Supp. 1378, 1380 (N.D. Cal. 1994)

10   (quoting GPAC, Inc. v. D.W.W. Enters., Inc., 144 F.R.D. 60, 63-64 (D. N.J. 1992)). These factors

11   also support a stay.

12          A. If the Court Requires CAET to Refund SGS’s Payment, CAET May Be Forced to
               Violate U.S. Export Regulations
13

14          If the Court directs CAET to refund SGS’s payment before CAET has the opportunity to

15   consult with OFAC regarding the refund’s legality, CAET may be forced to violate OFAC or BIS

16   regulations. Transacting with entities sanctioned by OFAC can result in criminal and civil

17   penalties, including fines and imprisonment. See 31 C.F.R. § 501.701(a). The same is true of

18   exporting items in violation of the EARs. See 50 U.S.C. § 4819(a)(2)(A) (“No person may

19   engage in any conduct prohibited by or contrary to, or refrain from engaging in any conduct

20   required by . . . the Export Administration Regulations,” and a person who does so “shall be fined

21   not more than $1,000,000; and, . . . . in the case of [an] individual, shall be imprisoned for not

22   more than 20 years, or both.”); see also Ponzio v. 3M Co., No. 2:16-CV-3521, 2016 WL

23   6407376, *1 n.1 (C.D. Cal. Oct. 28, 2016) (describing criminal and civil penalties under EARs).

24          It is well-established that the risk of incurring criminal penalties gives rise to a threat of

25   irreparable harm. See Cuviello v. City of Vallejo, 944 F.3d 816, 832 (9th Cir. 2019) (as failure to

26   comply with city’s municipal code “constitutes either a misdemeanor or infraction, subject to

27   potential criminal penalties,” plaintiff “has shown irreparable harm” necessary to enjoin

28   enforcement of ordinance); Chamber of Commerce v. Becerra, 438 F. Supp. 3d 1078, 1103-04

                                                       -10-
             DEFS.’ MOT. TO STAY PENDING DETERMINATION BY OFFICE OF FOREIGN ASSETS CONTROL
     Case 4:25-cv-04075-HSG            Document 37        Filed 05/28/25       Page 16 of 18



 1   (E.D. Cal. 2020) (plaintiffs seeking injunction preventing enforcement of statute “meet their

 2   burden of showing a likelihood of irreparable harm” because, if the statute “takes effect, plaintiffs

 3   have provided sufficient evidence to show California businesses that rely on arbitration

 4   agreements as a condition of employment will be forced to choose between risking criminal or

 5   civil penalties, or both, . . . and foregoing the use of arbitration agreements altogether to avoid

 6   penalties”).

 7           B. Entering a Stay Will Not Meaningfully Prejudice SGS

 8           To the extent SGS suffers any injury due to entry of a stay, it will be a mere delay in

 9   receiving the funds it paid to CAET, unless OFAC advises that paying those funds is unlawful.

10   See Terry v. Register Tapes Unlimited, Inc., No. 2:16-cv-0806, 2020 WL 3819417, *2 (E.D. Cal.

11   Jul. 8, 2020) (plaintiff’s allegations of “personal hardship he will experience if he loses his

12   income from defendants” did not establish irreparable harm, because “[e]conomic harm is

13   generally not considered irreparable”); Cal. Apt. Ass’n. v. San Diego Cty. Apt. Ass’n., Inc., No.

14   11cv300, 2011 WL 1002667, *2 (S.D. Cal. Mar. 18, 2011) (denying motion for temporary

15   restraining order preventing alleged copyright infringement because “economic injury alone does

16   not support a finding of irreparable harm, because such injury can be remedied by a damage

17   award”) (quoting Rent-A-Center, Inc. v. Canyon Tel. & Appliance Rental, Inc., 944 F.2d 597, 603

18   (9th Cir. 1991)).

19           Nor is mere delay in the conduct of the litigation sufficient to defeat a stay. See, e.g., Hart

20   v. Charter Comms., Inc., No. SA CV 17-0556, 2019 WL 7940684, *5 (C.D. Cal. Aug. 1, 2019)
21   (“Litigation delay does not generally constitute sufficient reason to deny an otherwise justified

22   stay of proceedings.”). Further, this case is at an early stage, as no discovery has been taken and

23   the pleadings are not yet settled. (Decl. of William J. Frimel, May 28, 2025, ¶¶ 2-3.) Thus, a stay

24   will not put the parties at risk of losing the benefit of significant trial preparations. See, e.g.,

25   Williams v. Nationstar Mortgage, LLC, No. 6:16-cv-01357, 2016 WL 6905382, *2-3 (D. Or.

26   Nov. 23, 2016) (as “the case is in the early stages of the proceedings” and a stay “would reduce
27   the financial hardship defendant would sustain defending issues that could be rendered moot by

28   the” order in related appeal, stay was appropriate); Klaustech, Inc. v. AdMob, Inc., No. C 10-
                                                        -11-
             DEFS.’ MOT. TO STAY PENDING DETERMINATION BY OFFICE OF FOREIGN ASSETS CONTROL
     Case 4:25-cv-04075-HSG          Document 37         Filed 05/28/25         Page 17 of 18



 1   05899, 2011 WL 13152861, *2 (N.D. Cal. Feb. 2, 2011) (“[T]his case is in the early stage of

 2   litigation and this factor weighs in favor of a stay” pending patent reexamination, as “little to no

 3   discovery has taken place” and “no trial date has been set”); Akeena Solar Inc. v. Zep Solar Inc.,

 4   No. C 09-05040, 2010 WL 1526388, *2 (N.D. Cal. Apr. 14, 2010) (same).

 5          C. A Stay Would Be in the Public Interest

 6          As discussed (see Stmt. of Facts (“SOF”) § A supra), the relevant BIS regulations, such as

 7   the prohibition on providing “support” to foreign military intelligence end users, 15 C.F.R. §

 8   744.6(b)(6)(iv), are geared toward protecting U.S. national security interests, SGS appears to have

 9   ties with an entity recognized by U.S. regulators as posing threats to those interests (see SOF § B

10   supra), and OFAC’s purpose is to regulate transactions that have significant national security

11   implications (SOF § A.5 supra). Accordingly, entering a stay until OFAC has the opportunity to

12   evaluate any proposed payment by CAET to SGS would be in the public interest. The requested

13   stay would also serve the goal of judicial efficiency, as it would cause a waste of judicial

14   resources if CAET refunded SGS’s funds and OFAC later determined that CAET was not legally

15   permitted to do so. See Zaborowski v. MHN Govt. Servs., Inc., No. C 12–05109, 2013 WL

16   1832638, *3 (N.D. Cal. May 1, 2013) (stay pending appeal would serve “the public interest”

17   because “judicial resources will be wasted if this case proceeds all the way to trial, only for the

18   Court to later discover that the case should have proceeded through arbitration”); Eberle v. Smith,

19   No. 07-CV-0120, 2008 WL 238450, *4 (S.D. Cal. Jan. 29, 2008) (because “continuing to litigate

20   in this Court during the pendency of the appeal” at issue would pose a “risk of redundant or
21   inconsistent actions,” “the public interest weighs in favor of a stay”).

22                                             CONCLUSION

23          For the foregoing reasons, this case should be stayed until OFAC makes a determination

24   regarding CAET’s request for a license to refund the payment made to CAET by SGS.

25

26
27

28
                                                       -12-
             DEFS.’ MOT. TO STAY PENDING DETERMINATION BY OFFICE OF FOREIGN ASSETS CONTROL
     Case 4:25-cv-04075-HSG    Document 37     Filed 05/28/25   Page 18 of 18



 1    Dated: May 28, 2025               /s/ William J. Frimel

 2                                      WILLIAM J. FRIMEL
                                        Attorneys for Defendants
 3                                      CAPITAL ASSET EXCHANGE & TRADING LLC,
                                        CAE ONLINE LLC, RYAN JACOB, and JEFFREY
 4                                      ROBBINS
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                             -13-
            DEFS.’ MOT. TO STAY PENDING DETERMINATION BY OFFICE OF FOREIGN ASSETS CONTROL
